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              THE UNITED STATES COURT DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

______________________________________
                                       )
UNITED STATES OF AMERICA,              )
                                       )
v.                                     )              No. 21-CR-53 (CJN)
                                       )
EDWARD JACOB LANG,                     )
                                       )
                      Defendant.       )
______________________________________ )

      Defendant, Edward Jacob Lang, by and through undersigned counsel,

Steven Metcalf, respectfully moves this Court for and Order and Finding that

Defendant Lang has suffered the deprivation of numerous constitutionally

protected due process rights throughout the course of his pre-trial detention. In

addition to a finding, its respectfully requests for, inter alai, an order permitting

him to possess in his cell a laptop computer so he can review all discovery and

participate in his own defense, and to restrain the marshal’s from threating or

precluding Lang that he cannot exercise his First Amendment rights in speaking

to anyone he so chooses to. Further, this application seeks an Order of dismissal

of the Superseding l Indictment, in that, the federal district court has failed to

lawfully acquire jurisdiction over the “Person” of Mr. Lang.
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                                          Respectfully Submitted,



                                          /s/ Steven Alan Metcalf II
                                          _______________________________

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                                          Counsel for Defendant Edward Jacob Lang



                           CERTIFICATE OF SERVICE



       I hereby certify that, on July 15, 2022, this motion was filed via the Court’s

electronic filing system, which constitutes service upon all counsel of record.

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                                          /s/ Steven Alan Metcalf II
                                          _______________________________

                                          STEVEN A. METCALF II, ESQ.


                                          Counsel for Defendant Edward Jacob Lang




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